
Catron, Ch. J.
delivered the opinion of the court.
The bail bond and assignment on it were a record of the county court, on which a sci. fa. would lie. When the cause was carried up by appeal to the circuit court by either party, this part of the record was carried up with it, and stood in the court above in the same condition as in the inferior court. Such has been the uniform construction of our laws on the subject of bail. The securities had the power to surrender the defendant, Eubanks, at any time pending the suit, and to the court where the cause was at such time pending.
2d. It is objected the endorsement on the bail bond *272js insufficient. It is in the form the statute prescribes, except that “I. A. B. sheriff,” is the 'form observed; whereas, the form in the statute is, £‘I, A. B., sheriff of county.” But here the county of the sheriff and defendant appears on the face of the bond, and the endorsement taken in connexion with it, is just as certain as if the county of which the assignor was sheriff did appear in the endorsement.
Judgment affirmed.
